
PER CURIAM.
*927Jose Ramon Lopez appeals the summary denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. We affirm in all respects except as to ground two. We reverse the summary denial of ground two and remand for an evidentiary hearing as the claim was facially sufficient and the record does not conclusively refute it. See Freeman v. State, 761 So.2d 1055, 1061 (Fla. 2000) ("[A] defendant is entitled to an evidentiary hearing on a postconviction relief motion unless (1) the motion, files, and records in the case conclusively show that the prisoner is entitled to no relief, or (2) the motion or a particular claim is legally insufficient." (citing Maharaj v. State, 684 So.2d 726 (Fla. 1996) ) ).
AFFIRMED in part, REVERSED in part, and REMANDED.
WALLIS, GROSSHANS and SASSO, JJ., concur.
